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8    Attorneys for Plaintiffs in Espinosa, et al. v. Hyundai Motor America, et al.
     [Plaintiffs, Lillian E. Levoff, Thomas Ganim, and Daniel Baldeschi]
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10
11                            UNITED STATES DISTRICT COURT
12                          CENTRAL DISTRICT OF CALIFORNIA
13
14
15   IN RE: HYUNDAI AND KIA FUEL                 Case No.: MDL 13-2424-GW(FFMx)
     ECONOMY LITIGATION
16
                                                 ORDER GRANTING IN PART AND
17                                               MODIFYING IN PART ESPINOSA
                                                 PLAINTIFFS’ COUNSEL
18                                               McCUNEWRIGHT, LLP’S MOTION
                                                 FOR AWARD OF ATTORNEYS’ FEES,
19                                               REIMBURSEMENT OF LITIGATION
                                                 EXPENSES, AND SERVICE AWARD TO
20                                               REPRESENTATIVE PLAINTIFFS
21
                                                 Courtroom:    10
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                                                 Hon. George H. Wu
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25   //
26   //
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     [PROPOSED] ORDER GRANTING IN PART AND MODIFYING IN PART ESPINOSA PLAINTIFFS’ MOTION FOR
     AWARD OF ATTORNEYS FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND SERVICE AWARD TO
     REPRESENTATIVE PLAINTIFFS
     Case No.: ML-13-02424-GW (FFMx)
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1          The Espinosa Plaintiffs’ Motion for an Award of Attorneys’ Fees, Reimbursement
2    of Litigation Expenses, and Service Award to Representative Plaintiffs was heard on
3    March 19, 2015, and after supplemental briefing, again on May 7, 2015. Based upon the
4    court file, the Court’s review of the parties’ briefing on the motion, and the oral argument
5    of counsel at the hearing:
6          IT IS HEREBY ORDERED that McCuneWright, LLP’s request for an award of
7    attorneys’ fees and reimbursement of litigation expenses is granted in part and modified
8    in part. The Court determines that attorneys’ fees should be awarded by a lodestar
9    analysis. The 3,029.4 hours of work submitted by McCuneWright at the time of the
10   filing of the attorneys’ fee motion are reasonable. The hourly rates of McCuneWright
11   attorneys that vary from $450 to $650 an hour are reasonable. The lodestar of $1,836,210
12   submitted in support of the request is reasonable and is approved. The Court further
13   applies a 1.5521 multiplier to the lodestar and orders an attorneys’ fee award to
14   McCuneWright of $2,850,000 through the time of filing the attorneys’ fee motion.
15   McCuneWright may file a supplemental fee request with the Court for reimbursement of
16   attorneys’ fees and litigation costs necessarily and reasonably incurred between the date
17   the attorney fee motion was filed and the conclusion of the case.
18         McCuneWright, LLP, is awarded $93,550.02 in litigation expenses that are
19   reasonable and were necessarily expended in the case.
20         Plaintiff Levoff is awarded $5,000 and Plaintiff Ganim is awarded $5,000 for their
21   respective contribution in representing and furthering the interests of the class.
22
23         IT IS SO ORDERED.
24
25   DATED: June 1, 2015                            __________________________________
26                                                  Hon. George H. Wu
                                                    United States District Judge
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                                               -2-
     [PROPOSED] ORDER GRANTING IN PART AND MODIFYING IN PART ESPINOSA PLAINTIFFS’ MOTION FOR
     AWARD OF ATTORNEYS FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND SERVICE AWARD TO
     REPRESENTATIVE PLAINTIFFS
     Case No.: ML-13-02424-GW (FFMx)
